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                  EXHIBIT B-114
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Michael Thomas Flynn                          )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and
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           criminal investigations, the Special Purpose Grand Jury's inve~tigation is criminal in
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           nature in that it was requested for the purpose of investigating [criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpre Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal 1.nvestigationhas been
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    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. Michael Thomas Flynn, born December 24, 1958, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

4. The Witness is a retired United States Army lieutenant general who briefly served as

    United States National Security Advisor under former President Donald Trump in

    early 2017. In December 2017, the Witness pleaded guilty to making false statements

    to the FBI during the course of former Special Counsel Robert Mueller's

    investigation into Russian interference in the 2016 election. In 2019, prior to his

    sentencing, the Witness retained attorney Sidney Powell to represent him in the

    matter. On November 25, 2020, former President Trump granted the Witness a full

    pardon for "any and all possible offenses" arising out of the Special Counsel's

    investigation.

 5. On or about December 17, 2020, the Witness appeared in a video interview broadcast

    on Newsmax, proposing that former President Trump "could o,rder-within           the

    swing states, if he wanted to - he could take military capabilities, and he could place
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    them in those states and basically re-run an election in each o{those states."
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  ij

6. On December 18, 2020, approximately three weeks after the issuance of the
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       Witness's pardon, the Witness met with former President TrumJ, Sidney Powell, and

       others known to be associated with the Trump Campaign, at the White House. Public

       media reports indicate that the meeting focused on topics including invoking martial ,

       law, seizing voting machines, and appointing Powell as special counsel to investigate

       the 2020 election.

7. On January 21, 2022, Politico published a draft executive order dated December 16,

       2020, obtained by the United States House of Representatives Select Committee to

       Investigate the January 6th Attack on the United States Capitol. The draft order,

       which was ultimately not issued, directed the Secretary of Defense to seize and

       analyze certain voting machines used in the 2020 election and appointed a special

       counsel to oversee the operation and "institute all criminal and civil proceedings as

       appropriate." This draft order is consistent with statements made by the Witness and

       with public media reports regarding the White House meeting between the Witness,

       former President Trump, and others on December 18, 2020.

 8. In December 2021, L. Lin Wood, an attorney licensed in Georgia, stated in a public

       media interview with CNBC that he hosted meetings at a plant:;i.tionin South Carolina

       for the purpose of exploring options to influence the results of the November 2020

       elections in Georgia and elsewhere. Wood stated that the Witness, Sidney Powell,

       Patrick Byrne, Doug Logan, and other individuals known to be associated with the

       Trump Campaign attended the meetings.
                                                                       I
 9. The Witness, based on the information set forth above, is a nedessary and material
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       witness. The Witness possesses unique knowledge concerning;communications
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      .between himself and other known and unknown individuals invblved in the multi-

      state, coordinated efforts to influence the results of the ~ovemb~r 2020 election in
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      Georgia and elsewhere. Finally, the Witness's anticipated testin:iony is essential in
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      that it is likely to reveal additional sources of information regar~ing the subject of this
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      investigation.

 10. The testimony of the Witness will not be cumulative of any oth~r evidence in this

      matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

      unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Englewood, Sarasota County, Florida.

 13. The Witness will be required to be in attendance and testify_before the Special

      Purpose Grand Jury on Tuesday, November 22, 2022, at 9:oo·a.m. The District

      Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

      will pay all reasonable and necessary travel expenses and witness fees required to

      secure the Witness's attendance and testimony, in accordance with the Uniform Act

      to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

      See O.C.G.A. §24-13-90 et seq.
 :1                                                            ;

 15. If the Witness comes into the State of Georgia pursuant to this request, directing the

      Witness to attend and testify before the Special Purpose Grand Jury, the laws of this
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      State shall give the Witness protection from arrest and from sei-vice of civil or
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      criminal process, both within this State and in any ot~er state tough     which the
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           Witness may be required to pass in the ordinary cours~ of travJl, for any matters
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           which arose before the Witness's entrance into this State and other states.

       16. Both Georgia and Florida have adopted the Uniform Act to Secure the Attendance of

           Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

           Fla. Stat. §.942.06 et seq.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT

                                                                                           /




                                                       G -arN~3955·
                                                       Atlanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
 'i.


                              '---
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IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRA.JIIDJURY

               OJRDER APPROVING :!REQUESTFOR SPECIAL PURPOSE
               GRAND JURY PURSUANTTO O.C.G.A. 615-12-100,et sea.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Comt of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IO0(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods whenthe supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when nonnal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-101(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, a.TJd
                                                                     shall ch~rge said special
                                                                               I
purpose grand jury and receive its reports as provided by law.                 i
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          This authoi-izationshall include the investigation of any overt acts 011predicate acts
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relating to the subject of the special purpose grand jury's investigative purp6se. The special
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purpose grand jury, when making its presentments and reports, pursuant to (;).C.G.A. §§ 15-12-

71 and 15-12-10 1, may make recommendations concerning criminal prosecution as it shall see

fit. F,urthermore, the provisions of O.C.G.A. § 15-12-83shall apply.
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     i'
     : This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this c,ircuit to continue to

be devoted to the consideration of the backlog of ciiminal matters that has accumulated as a

result oft11e COVID-19 Pandemic.


                                       ·,[".\   "
          IT IS FURTHER O.L~~J..,.DJ.Qatthis Order shall be filed in the Office of the Clerk of
                                                \




                                                        ::-----':---.--------·   2022.




                                  CHRISTOPHER S. BRASHER~IEF                     JUDGE
                                  Superior Court of Fulton County
                                  Atlanta Judicial Circuit
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 i•,




                     Exhibit B




                                                    I.
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                               OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                             ATLANTAJUOICLAL
                                                         CIRCUiT                          I
                                          136PRYORSTREETSW,3RDFLOOR                       \
                                              ATLANTA,GEORGIA30303
-,....-=,    ->r;-=A,t'.,.,-                                                           TELEPHONE404-612-4639
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DistrictAttorney



                                                                                      tD'l'l·- E.X-DUDD/7
            The Honorable Christopher S. Brasher
            Chief Judge, Fulton County Superior Court                                     FILED IN OFFICE
            Fulton County Courthouse                                                                                    JJ ,
            185 Central Avenue SW, Suite T-8905
            Atlanta, Georgia 30303
                   ·i                                                                 I   DE
                                                                                                   FULTONCOUNTY,.?!.,

            January 20, 2022

            Dear Chief Judge Brasher:

            I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
            Office has received information indicating a reasonable probability that the State of Georgia's
            administration of elections in 2020, including the State's election of the President of the United
            States, was subject to possible criminal disruptions. Our office has also learned that individuals
            associated with these disruptions have contacted other agencies empowered to investigate this
            matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
            States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
            agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
            result, our office has opened an investigation into any coordinated attempts to unlawfully alter
            the outcome of the 2020 elections in this state.

            We have made efforts to interview multiple witnesses and gather evidence. and a significant
            number of witnesses and prospective witnesses have refused to cooperate with the investigation
            absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
            Brad Raffensperger, an essential witness to the investigation,has indicated that he will not
            participate in an interview or otherwise offer evidence until he is presented with a subpoena by
            my office. Please see Exhibit A, attached to this letter.

            Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
            to O.C.O,.A.§ 15-12-100 et. seq., that a special purpose grandjury be impaneled for the purpose
            of investigating the facts and circumstances relating directly or indirectly t~ possible attempts to
            disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
            special prupose grand jury, which will not have the authority to return an indictment but may
            makerecommendations concerningcriminalprosecution as it shall see fit, lsneeded for three
            reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
            required in order to accomplish its investigation, which will likely exceed~ normal grand jury
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     tenn; second, the special purpose grandjury wouldbe empoweredto revi'ew      this matter and this
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     matter only, with an investigatory focus appropriateto the complexity of the facts and
     circumstancesinvo 1ved; and third, the sitting grandjury would not be reqhired
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                                                                                    to attempt to
     address this matter in addition to their normal duties.                   \
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     Additionally, I am requesting that, pursuant to 0.C.G.A. § 15-12-101,a Fulton County Superior
     Court Judge be assigned to assist and supervisethe special purpose grand jury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grandjury for the consideration
     of the Court.
             •     h
   \..espectful~,        '1 I
    k\                    AJ'A
'-rnstrict       Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of },;feetthe Press on NBC News at 26:04
     (video archived at https://www.youtube.com/watch?v=B71cBRPgt9k)
     Exhibit B: Proposed Order

     cc:
     The Honorable K.frnberlyM. Esmond Adams
     The Honorable Jane C. Barwick
     The Honorable Rachelle Carnesdale
     The Honorable Thomas A. Cox, Jr.
     The Honorable Eric Dunaway
     The Honorable Charles M. Eaton, Jr.
     The Honorable Belinda E. Edwards
     The Honorable Kelly Lee Ellerbe
     The Honorable Kevin M. Fanner
     The Honorable Ural Glanville
     The Honorable Shakura L. Ingram
     The Honorable Rachel R. Krause
     The Honorable Melynee Leftridge
     The Honorable Robert C.I. IvicBurney
     The Honorable Henry M. Newkirk
     The Honorable Emily K. Richardson
     The Honorable Craig L. Schwall, Sr.
     The Honorable Paige Reese Whitaker
     The Honorable Shennela J. \Villiams
     Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
